Case 2:04-cr-20448-STA Document 90 Filed 05/17/05 Page 1 of 2 Page|D 81

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FOR THE WEsTERN DisTRicT oF TENNESSEE@;§ t-;t-t,\:’ l‘i t.t-t tU= ~»5
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UNiTED STATES OF Al`\/|ER|CA,
P|aintiff

VS.
CR. NO. 04-20448-03-3

KE|\|NETH CRENSHAW,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on for a report date on April 25, 2005. At that time, counsel for the
defendant requested a change of plea date.

The Court granted the request and set the change of plea date for Apri| 28, 2005.
The Court subsequently granted a |V|otion for Continuance and re-set the change of p_|ea
date for Thursdav. Auqust 4. 2005 at 1:30 p.m., in Courtroom 1J 11th Floor of the
Federa| Bui|ding, |Vlernphis, TN.

The period from |Vlay 13, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

iT is so oRDEREothis l”l<'L day 0 May, 2005.

/Be\x

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Th.is; document entered on the docket sheet in compitanc@

with Ru|e 55 and/or 32(b) FHCrP on 5'¢%` 'C§

 

   

UNITED sTATE DISTRIC COUR - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 90 in
ease 2:04-CR-20448 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

